                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA


 COOK INLETKEEPER and CENTER FOR
 BIOLOGICAL DIVERSITY,
                                                   Case No. 3:19-cv-00238-SLG
                  Plaintiffs,

     v.

 WILBUR ROSS, et al.,

                  Defendants.


                                           ORDER

          This matter comes before the Court on Hilcorp Alaska LLC’s Motion to Intervene

(Docket 15). Having reviewed the Motion, Plaintiffs’ Response, and Hilcorp’s Reply, the

Court GRANTS the Motion. The Court declines to adopt Plaintiffs’ proposed page

limitations for Hilcorp. Hilcorp is directed to file its Answer within 5 days of the date of

this order.



IT IS SO ORDERED.

Dated: October 10, 2019



                                                      /s/ Sharon L. Gleason
                                                      SHARON L. GLEASON
                                                      United States District Judge



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